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                                CERTIFICATE OF SERVICE

       I hereby certify that on this twenty-eighth day of June 2021, I caused the foregoing

Notice of Withdrawal of Counsel to be electronically filed with the Clerk of the Court of the U.S.

District Court for the District of Columbia by using the CM/ECF system. Counsel in this case

are registered CM/ECF users, and service will be accomplished using the CM/ECF system.



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